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                                                                                 E-FILED
                                                   Monday, 11 January, 2021 08:15:29 AM
                                                            Clerk, U.S. District Court, ILCD

           IN THE UNITED STATES DISTRICT COURT
           FOR THE CENTRAL DISTRICT OF ILLINOIS
                   SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,             )
                                      )
               Plaintiff,             )
                                      )
     v.                               )      Case No. 14-cr-30013
                                      )
MICHAEL EDWARDS,                      )
                                      )
               Defendant.             )

                               OPINION

SUE E. MYERSCOUGH, U.S. District Judge:

     Before the Court are Defendant Michael Edwards’ second pro

se motion (d/e 49) and amended motion for compassionate release

(d/e 50) requesting a reduction in his term of imprisonment

pursuant to 18 U.S.C. § 3582(c)(1)(A). For the reasons set forth

below, the motions are GRANTED.

                            I. BACKGROUND

     On December 29, 2014, Defendant Michael Edwards pled

guilty to Count 1 of the Indictment for conspiring to manufacture

and distribute 50 grams or more of mixtures or substances

containing a detectable amount of methamphetamine in violation of

21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(B). On April 30, 2015,


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Defendant was sentenced to 120 months of imprisonment and a 4-

year term of supervised release. Defendant is currently serving his

sentence at FMC Lexington, and he has a projected release date of

September 23, 2021.

       On July 28, 2020, Defendant filed a pro se motion for

compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A). See

d/e 28. On August 3, 2020, following the appointment of the

Federal Public Defender’s Office to represent Defendant, an

Amended Motion for Compassionate Release was filed. See d/e 33.

Defendant sought compassionate release due to the COVID-19

pandemic. However, Defendant’s motions were denied on August

25, 2020. See Order, d/e 48. At that time, FMC Lexington only

had only two active COVID-19 cases, the medical records only

showed that Defendant suffered from hypertension, and

Defendant’s projected release date was September 23, 2021. Id. at

5-7.

       On December 23, 2020, Defendant filed a second pro se

motion for compassionate release. See d/e 49. On January 4,

2021, defense counsel filed an Amended Motion for Compassionate

Release. See d/e 50. Defendant argues that he suffers from


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obesity and hypertension and FMC Lexington is facing an

uncontrolled COVID-19 outbreak. Moreover, Defendant argues that

he is being released early to a halfway house on February 16, 2021,

but he would be safer from exposure if permitted to self-quarantine

at home.

     On January 7, 2021, the Government filed a response

opposing Defendant’s motion. See d/e 53. The Government argues

that Defendant has not established extraordinary and compelling

reasons to warrant a reduction in his sentence and the factors set

forth in 18 U.S.C. § 3553(a) do not warrant release.

                            II. ANALYSIS

     As a general matter, the Court is statutorily prohibited from

modifying a term of imprisonment once it has been imposed. See

18 U.S.C. § 3582(c). However, several statutory exceptions exist,

one of which allows the Court to grant a defendant compassionate

release if certain requirements are met. See 18 U.S.C. §

3582(c)(1)(A).

     Section 603(b)(1) of the First Step Act amended the statutory

language at 18 U.S.C. § 3582(c)(1)(A). See First Step Act of 2018,

Pub. L. No. 115-391, 132 Stat 5194. Prior to the First Step Act, the


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Court could grant a defendant compassionate release only if the

Director of the BOP filed a motion seeking that relief. With the

enactment of the First Step Act, 18 U.S.C. § 3582(c)(1)(A) now

allows an inmate to file with the Court a motion for compassionate

release, but only after exhausting administrative review of a BOP

denial of the inmate’s request for BOP to file a motion or waiting 30

days from when the inmate made his or her request, whichever is

earlier. The statute now provides as follows:

     The court, upon motion of the Director of the Bureau of
     Prisons, or upon motion of the defendant after the
     defendant has fully exhausted all administrative rights to
     appeal a failure of the Bureau of Prisons to bring a
     motion on the defendant’s behalf or the lapse of 30 days
     from the receipt of such a request by the warden of the
     defendant’s facility, whichever is earlier, may reduce the
     term of imprisonment (and may impose a term of
     probation or supervised release with or without
     conditions that does not exceed the unserved portion of
     the original term of imprisonment), after considering the
     factors set forth in section 3553(a) to the extent that they
     are applicable, if it finds that—

     (i) extraordinary and compelling reasons warrant such a
     reduction . . . and that such a reduction is consistent
     with applicable policy statements issued by the
     Sentencing Commission.

18 U.S.C. § 3582(c)(1)(A).

     In this case, Defendant argues that he submitted a request to



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the warden of his facility on July 15, 2020, which is more than 30

days ago. See d/e 33, p. 10. Additionally, the U.S. Probation Office

received documents from BOP that indicate Defendant made a

request for a sentence reduction with the warden at FMC Lexington,

which was denied. See d/e 51, p. 2. The Government did not raise

exhaustion in its Response. See Response, d/e 53. As such, the

argument is waived. Therefore, the Court finds that Defendant has

met the 30-day requirement pursuant to 18 U.S.C. § 3582(c)(1)(A).

     The Court must consider whether “extraordinary and

compelling reasons warrant such a reduction” and is “consistent

with applicable policy statements issued by the Sentencing

Commission.” 18 U.S.C. § 3582(c)(1)(A).

     The spread of COVID-19 has presented extraordinary and

unprecedented challenges for the country and poses a serious issue

for prisons. Due to the infectious nature of the virus, the Centers

for Disease Control and Prevention (CDC) and state governments

have advised individuals to practice good hygiene and social

distancing and isolation. Social distancing can be difficult for

individuals living or working in a prison.

     FMC Lexington is experiencing a serious COVID-19 outbreak


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at the facility. See COVID-19 Cases, Federal Bureau of Prisons,

https://www.bop.gov/coronavirus/ (last accessed January 10,

2021). As of January 10, 2021, 430 inmates and 13 staff members

have the disease, 9 inmates have died as a result of the disease,

and 284 inmates and 44 staff members have recovered. Id.

     Defendant is a 44-year male who suffers from uncontrolled

hypertension and is considered clinically obese as he has a BMI of

34.1 based on his weight of 224 pounds and height of 5’8”. See

BOP Records, d/e 52, p. 27; Adult BMI Calculator, CDC,

https://www.cdc.gov/healthyweight/assessing/bmi/adult_bmi/eng

lish_bmi_calculator/bmi_calculator.html (last accessed January 10,

2021). The CDC has classified obesity as a condition placing

Defendant at an increased risk of serious illness if he contracts

COVID-19. See People at Any Age with Underlying Medical

Conditions, CDC, https://www.cdc.gov/coronavirus/2019-

ncov/need-extra-precautions/people-with-medical-conditions.html

(last accessed January 10, 2021) (“Adults of any age with the

following conditions are at increased risk of severe illness from the

virus that causes COVID-19:: . . . Obesity (body mass index [BMI] of

30 kg/m2 or higher but < 40 kg/m2). . . .”). The CDC has also


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identified that hypertension might increase Defendant’s risk for

serious illness if he contracts COVID-19. Id. (“[A]dults of any age

with the following conditions might be at an increased risk for

severe illness from the virus that causes COVID-19: . . .

Hypertension or high blood pressure . . . .”). The Court finds that

Defendant’s medical conditions place him at great risk of serious

illness or death if he contracts COVID-19.

     The Court must also reconsider the factors set out in 18

U.S.C. § 3553(a). Defendant Edwards is currently serving a 120-

month term of imprisonment. Defendant’s projected release date is

September 23, 2021, leaving only 12 months remaining on his

imprisonment sentence. However, Defendant is scheduled for early

release to a halfway house on February 16, 2021. Defendant has

already served over 79 months of his sentence. Since being

incarcerated, Defendant has not committed any disciplinary

infractions. Defendant has completed an impressive amount of

educational and rehabilitative programs, totaling nearly 50

programs. The Court has reconsidered the factors in § 3553(a) and

concludes that they entitle Defendant to compassionate release.

     The Court also considers whether Defendant is a danger to the


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safety of any other person or to the community. See U.S.S.G. §

1B1.13.1 The U.S. Probation Office has found Defendant’s proposed

release plan suitable. See d/e 51. If Defendant quarantines

himself at his new place of residence away from any other

household members, that will diminish the risk of spreading the

virus. Otherwise, the Court does not find that Defendant poses a

danger to the community.

      The Court, taking all the relevant facts into account, finds that

Defendant has established that there exist extraordinary and

compelling reasons that warrant a reduction in his term of

imprisonment, and the Court finds that compassionate release is

appropriate in this case.

                            III. CONCLUSION

      For the reasons set forth above, Defendant Michael Edwards’

second pro se motion (d/e 49) and amended motion for

compassionate release (d/e 50) are GRANTED. The Court hereby

reduces Defendant’s term of imprisonment from 120 months to time


1 Section 1B1.13 of the Sentencing Guidelines has not been amended to reflect
the First Step Act’s amendment to 18 U.S.C. § 3582(c)(1)(A). As it stands, §
1B1.13 refers to a reduction “upon the motion of the Director of the Bureau of
Prisoners.” No policy statement provides guidance for when a defendant files a
motion. Nevertheless, the Court considers § 1B1.13.

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served plus 72 hours in order to allow BOP to test Defendant for

COVID-19 and for Defendant to arrange transportation.

     The Court modifies Defendant’s conditions of supervised

release to require Defendant to spend 6 months in home

confinement, with the first 14 days to be spent in isolation. The

home confinement shall start as soon as possible after his term of

supervised release begins. Defendant shall be monitored by

telephonic monitoring as approved by the United States Probation

Office. All other aspects of Defendant’s sentence shall remain the

same.

     The Bureau of Prisons is ORDERED to immediately test

Defendant for COVID-19. The Bureau of Prisons is also ORDERED

to release Defendant once he has tested negative for COVID-19.

The Clerk is DIRECTED to send a copy of this Opinion to FMC

Lexington. Defendant must self-quarantine for a period of 14 days

beginning at the time of his release, including while he travels from

his BOP facility to his new residence. Defendant shall travel to his

new residence in a vehicle with three-row seating that allows him to

follow the CDC’s social distancing guidelines, which include staying

at least six feet from others and wearing a face mask and gloves.


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ENTER: January 11, 2021


                              s/ Sue E. Myerscough
                              SUE E. MYERSCOUGH
                              UNITED STATES DISTRICT JUDGE




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